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UNITED sTATEs oF AMERICA WDOFTN,MEWHS
Plaintiff,

vs. cR. No. 04-20473-M1

MICHAEL A. szYMANsKI

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on July 5, 2005, the United States
Attorney for this district, Dan Newsom, appearing for the Government and the
defendant, Michael A. Szymanski, appearing in person and with counsel,
Walter Bailey, who represented the defendant.

With leave of the C'ourt, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for WEDNESDAY, OCTOBER 5, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9"b floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the (-O day of July, 2005.

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J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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UNITED sTATE DISTRIC COURT - WE TERN D's'TRCT oFTENNESSEE

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Dan NeWsom

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Honorable J on McCalla
US DISTRICT COURT

